                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 STATESVILLE DIVISION

                                      DOCKET NO. 5:12CR49

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )                  BILL OF
                                                 )               PARTICULARS
               v.                                )              FOR FORFEITURE
                                                 )               OF PROPERTY
MARTIN MARTINEZ SALDANA, ET AL.,                 )
                                                 )
                       Defendant.                )

       NOW COMES the United States of America, by and through Anne M. Tompkins, United

States Attorney for the Western District of North Carolina, and hereby submits the following Bill

of Particulars for Forfeiture of Property.

       The Indictment in this case seeks forfeiture of property pursuant to 21 U.S.C. § 853, 18

U.S.C. § 924, and 28 U.S.C. § 2461(c). Furthermore, in the Notice of Forfeiture and Finding of

Probable Cause, the Indictment gives notice of forfeiture as to “a) all property which constitutes

or is derived from proceeds of the violations set forth in this bill of indictment; b) all property

used or intended to be used in any manner or part to commit or facilitate such violations; c.) all

firearms or ammunition involved or used in such violations; and (d.) If, as set forth in 21 U.S.C.

§ 853(p), any property described in (a) or (b) cannot be located upon the exercise of due

diligence, has been transferred or sold to, or deposited with, a third party, has been placed

beyond the jurisdiction of the court, has been substantially diminished in value, or has been

commingled with other property which cannot be divided without difficulty, all other property of

the defendant(s) to the extent of the value of the property described in (a) or (b).” The United


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States hereby gives notice that it is seeking forfeiture of additional specific property pursuant to

21 U.S.C. § 853, 18 U.S.C. § 924, and 28 U.S.C. § 2461(c), and/or– on one or more of the

grounds alleged in the Indictment – including, but not limited to, the following:

       Tanfoglio, made in Italy, .22 caliber, 4 shot pistol, S/N:59363, seized from Martin
       Martinez Saldana’s residence located at 148 Ervin Houck Drive, West Jefferson, NC
       28694 on December 12, 2012.

       Herman Weihrauch, model HW7T, .22 mag., 8 shot revolver, S/N:1296341, with
       extra cylinder, seized from Martin Martinez Saldana’s residence located at 148
       Ervin Houck Drive, West Jefferson, NC 28694 on December 12, 2012.

       H&R 12 gauge single shot shotgun, S/N:A62823, in two pieces, seized from Martin
       Martinez Saldana’s residence located at 148 Ervin Houck Drive, West Jefferson, NC
       28694 on December 12, 2012.

       3, .22 short rounds, seized from Martin Martinez Saldana’s residence located at 148
       Ervin Houck Drive, West Jefferson, NC 28694 on December 12, 2012.

       1, 12 gauge shell, seized from Martin Martinez Saldana’s residence located at 148
       Ervin Houck Drive, West Jefferson, NC 28694 on December 12, 2012.

       Tanfoglio, model E15, .22 caliber revolver, S/N:TC25618, seized from Martin
       Martinez Saldana’s residence located at 148 Ervin Houck Drive, West Jefferson, NC
       28694 on December 12, 2012.

       81 rounds of .223 and .45, located in a metal outbuilding on December 12, 2012.

       Calwestco Inc., Jennings model J22, .22 caliber pistol, S/N: 486206, seized from 178
       Ervin Houck Drive, West Jefferson, NC 28694 on December 12, 2012.

       Ruger P90DC, .45 ACP, S/N:662-31512, with 1 magazine located near the pistol
       holding 2 rounds and 8 loose rounds located near the pistol seized from 178 Ervin
       Houck Drive, West Jefferson, NC 28694 on December 12, 2012.

       186 rounds of assorted ammunition, seized from 178 Ervin Houck Drive, West
       Jefferson, NC 28694 on December 12, 2012.


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     Norinco 7.62 X 39mm rifle, model SKS, S/N:11108482, seized from 178 Ervin Houck
     Drive, West Jefferson, NC 28694 on December 12, 2012.

     Savage Model 110, .308, S/N:F761578, seized from 178 Ervin Houck Drive, West
     Jefferson, NC 28694 on December 12, 2012.

     Plastic box containing 301 rounds of assorted ammunition, seized from 178 Ervin
     Houck Drive, West Jefferson, NC 28694 on December 12, 2012.

     148 Ervin Houck Drive, West Jefferson, Ashe County, NC 28694 as more
     particularly described in a Deed recorded in the Register of Deeds office, Ashe
     County, North Carolina, at Deed Book 247, Pages 1055-1058.

     178 Ervin Houck Drive, West Jefferson, Ashe County, NC 28694 as more
     particularly described in a Deed recorded in the Register of Deeds office, Ashe
     County, North Carolina, at Deed Book 247, Pages 1055-1058.

     212 Ervin Houck Drive, West Jefferson, Ashe County, NC 28694 as more
     particularly described in a Deed recorded in the Register of Deeds office, Ashe
     County, North Carolina, at Deed Book 431, Pages 1540-1541.

     Non-postal enumerated parcel bearing PIN 13194-314, West Jefferson, Ashe
     County, NC 28694 as more particularly described in a Deed recorded in the Register
     of Deeds office, Ashe County, North Carolina, at Deed Book 420, Pages 960-961.

     Respectfully submitted this the 11th day of February 2013.

ANNE M. TOMPKINS
UNITED STATES ATTORNEY

__________________________
s/ THOMAS R. ASCIK
ASSISTANT UNITED STATES ATTORNEY
North Carolina Bar No. 17116
100 Otis Street
Asheville, NC 28801
828-259-0644
828-271-4122 (fax)
thomas.ascik@usdoj.gov



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                                      CERTIFICATE OF SERVICE

        I hereby certify that the Government's Bill of Particulars for Forfeiture of Property on Behalf of
the United States was duly served upon defense counsel via ECF at the following addresses:

Denzil H. Forrester at denzilfesq@aol.com
Steven T. Meier at steve@meierlaw.com

        This the 11th day of February 2013.

ANNE M. TOMPKINS
UNITED STATES ATTORNEY

__________________________
s/ THOMAS R. ASCIK
ASSISTANT UNITED STATES ATTORNEY
North Carolina Bar No. 17116
100 Otis Street
Asheville, NC 28801
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